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                                                                                                                                                           u.$.0tsIRlct
                                                                                                                                                                     OUR
                             IN TBE T'NTTED STATES DISTRICT COI'RT FOR TTU                                                                                             i v.
                                                                                                                                                                  AUGUSTA
                                     SOUTEERNDISTRICT OF GEORGIA
                                           AUGUSTA DIVISION                                                                                                fir5lilRtl               l:

UN]TED STATES OF AMERICA

             vs.                                                                *                        aD    104_nq,/



      LEE DOBY, JR.
HARO],D



                                                                       ORDER


             Defendant has fifed                                a mot.ion for                                 reduclion                  of sentence under

18 U.S.C.                    S 3582(c) (2) on the basis                                                       t h a L A r n e n d m e n L1 8 2 t . o t h e

United             States                 Sent.encing Guidelines                                              has revised                       the    guideJines

.:nnl    i n.ahl         a       t-.\    .irrr.r     rrzif     i nzi   nn           nf       faneae                            :\ran         l-h/-\rr/'rh Aman.]m/--f


782 became effeccive                                         on November 1,                                   2 0 14 ,           no defendant                  may be

released                     on          Lhe        basis        of      che                   retroaccive                              amendment. before

November I,                       2015.             See U.S.S.c.                    Amend. ?88,                                  Thus, the Court will
                   r-^       -     ---'r      --.    ^f      r-aqeq    i! ,nr rv vr -nv l! r, 9r i n n         d                fL - -q a tFir:kino
                                                                                                               u ! r r ru o
                                                                                                                          \j            -!fu^trr\j         nf ferseS
                                                                                                                                                           v!!r.r.




in due course,                                If    Defendant is                     entitled                           to a sentence reduction

as      a        resuft                  of        amendments to                            the               United                   States          Sentencing

|]ridcli-es                        j-hF        a^'rt         wilf      make                  SuCh              a         re.lrrr-i           nn    sr'.r   q r r l rn f F

an^nr..ri         nr't,,                nafah^:nt-'c            renf r,.rn               i..t^^                                609)      is       gEEERRED.l
                                                                                                               "^.
                                                                                                                                       //e
             O R D E RE N T E R E Da t . A u g u s t a ,                            Georgia,                          this             / I        day of March,

2015.




                                                                                                               TED STAT                         DISTRICT JUDGE



             -      The Clerk                       is       directed                to              terminate                         the        motion       for
:dn'    ri       cr-:1-          i \ra     n||rn.\Ses.
